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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     ALBANY DIVISION

 SHAVONNE WILLIAMS ,                              *

                      Plaintiff,                  *
 v.                                                   Case No. 1:21-cv-00010-LAG
                                                  *
 PHOEBE PUTNEY MEMORIAL HOSPITAL
 INC., et al.,                                    *

                      Defendants,                 *

                                          JUDGMENT

      Pursuant to this Court’s Order dated February 10, 2021, and for the reasons stated therein,

JUDGMENT is hereby entered remanding this case to the State Court of Dougherty County, Georgia.

       This 10th day of February, 2021.

                                          David W. Bunt, Clerk


                                          s/ Dennis Tomlinson, Deputy Clerk
